IN THE UNITED STATES DISTRICT COURT ~~ oe PR if
FOR THE MIDDLE DISTRICT OF TENNESSEE =. |,

De oc AQ \ ot deo Seckic

Plaintiff(s),

)
) -

) Case Number 5 25 - EV-00 RES

) We

) Judge \ Se &\ é Ve ihoad ROK)
)

)

Magistrate Judge

Vv,

Wore Sh le lannes@e ob, a,
ond PafendantOl ( ote)
Resp be VeRendond \ N\ac
\ (Type of Pleading) MA shun \2 Dis {XX
Zeno At LOS PS hota daa Peek: pss

: Mo. led Ves Woledlands Ixg Sed

Case 3:25-cv-00288 Document 49 Filed 04/17/25 Page 1 of 16 PagelD #: 270

Se) WV niche

(Signature
We oad Aik No hans hy

e Name)

(Address & Telephone Number, if any)

Case 3:25-cv-00288

Document 49

Filed 04/17/25 Page 2 of 16 PagelID #: 271

v

one

CIT < « A
Summons and Response to Pennymac Motion to Dismiss Lo \; + ;
From:rcgina jordan (g48 |8@yahoo.com) Lt
To:noah.mason@troutman.com

Date:Thursday, April 17, 2025 at 12:45 AM CDT

Message Body
To: Noah J Mason

1 am attaching the Summons Civil Action No. 3:25-cv-00288 and Plaintiff's Response Opposing Defendant's Second
Motion to Dismiss.

Dr. Regina Jordan-Sodiq, Pro Se

la

Response to Pennymac 5.jpg
106.3kB

Response to Pennymac 4.jpg
119.6kB

Response to Pennymac 3.jpg
106kB

Response to Pennymac 2.jpg
112.7kB

la

Summons and Response to Pennymac Motion to Dismiss.jpg
8B.1kB

Response to Pennymac 12.jpg
69.9kB

Response to Pennymac 1 1.jpg
116.9kB

Response to Pennymac 10,jpg
110.3kB

Case 3:25-cv-00288 Document 49 _ Filed 04/17/25 Page 3 of 16 PagelD #: 272
Summons and Response to Pennymac Motion to Dismiss
From:regina jordan (g48 18@yahoo.com)

To:noah, mason@troutman.com

Date:Thursday, April 17, 2025 at 12:45 AM CDT

Message Body
To: Noah J Mason

[am attaching the Summons Civil Action No. 3:25-cv-00288 and Plaintiff's Response Opposing Defendant's Second
Motion to Dismiss.

Dr. Regina Jordan-Sodiq, Pro Se

Response to Pennymac 5.jpg
106.3kB

Response to Pennymac 4.,jpg
119.6kB

Response to Pennymac 3.jpzg
106kB

(ad

Response to Pennymac 2.jpg
112.7kB

2

Summons and Response to Pennymac Motion to Dismiss. jpg
88.1kB

Response to Pennymac 12,jpg
69.9kB

Response to Pennymac [1 .jpg
116.9kB

Response to Pennymac 10,jpg
110.3kB

Case 3:25-cv-00288 Document 49 _ Filed 04/17/25 Page 4 of 16 PagelD #: 273
Instructions

1.

2.

Case 3:25-cv-00288

Please use a laser or laser-quality printer.

Adhere shipping label to package with tape or glue - DO
NOT TAPE OVER BARCODE. Be sure all edges are secure.
Self-adhesive label ls recommended.

. Place label so that it does not wrap around the edge of

the package.

. Each shipping label number is unique and can be used

only once - DO NOT PHOTOCOPY.

. Please use this shipping label on the "ship date”

selacted when you requested the label,

. Ifa mailing receipt is required, present the article and

Online e-Label Record at a Post Office for postmark.

Ba UNITED STATES
POSTAL SERVICE»

9410 8301 0935 5002 5491 01

PRIORITY MAIL®
Extra Services:
Fees:

Print Date: 2025-02-14
Ship Date: 2025-02-14

Total:

REGINA JORDAN-SODIQ
1757 AUTUMNWOOD BLVD
CLARKSVILLE TN 37042-1713

From:

To:

KRISTEN RITTER
3501 UNIVERSITY BLVD E
ADELPHI MD 20783-7998

* Commercial Pricing PRIORITY MAIL rales apply. There is no fee for USPS Tracking?
service on PRIORITY MAIL® service with use of this electronic rate shipping fsbel,
Refunds for unused postage pald labels can be requested online 2 days from thé

print date,

$8.75
$3.70

$0.00

$12.45

Cut on dotted line,

Instructions

1. Please use a laser or laser-quality printer.

2. Adhere shipping label to package with tape or glue -DO
NOT TAPE OVER BARGODE. Be sure alt edges are secure.
Self-adh

ded.

ive label is rece

3. Place label so that it doos not wrap around the edge of
the package.

4. Each shipping label number is unique and can be used
only once - DO NOT PHOTOCOPY.

5. Please use this shipping tabel on the "ship date"
selected when you requested the label.

6. Ifa mailing receiptis required, present the article and
Online e-Label Record at a Post Office for postmark.

UNITED STATES |
Ba POSTAL SERVICE.

Thank you for shipping with the United States Postal Service!
Check the status of your shipment on the USPS Tracking® page at usps.co

°

9410 8301 0935 5002 5500 39

PRIORITY MAIL®
Extra Services:
Fees:

Print Date: 2025-02-14
Ship Date: 2025-02-14

Total:

From: REGINA JORDAN-SODIQ
1757 AUTUMNWOOD BLVD

CLARKSVILLE TN 37042-1713

To:
SOCIAL SECURITY OFFICE
LYWANA DOLLAR
119 CENTER POINTE DR
CLARKSVILLE TN 37040-8424

* Commercial Pricing PRIORITY MAIL@ rates apply, There is no fee for USPS Traching®
service on PRIORITY MAILD service with use of this clectronte rate ehipping label.
Refunds for unused postage paid labets can be requested onting 3¢ days from the

print date,

$8.75
$3.70

$0.00

$12.45

Check the status of your shipment on the USPS Tracking® page at usps.com

Document 49

Filed 04/17/25

Page 5 of 16 PagelD #:

Thank you for shipping with the United States Postal Service!

274

Instructions

1. Please use a laser or laser-quatity printer.

2. Adhere shipping label to package with tape or glue - DO
NOT TAPE OVER BARCODE. Be sure all edges are secure.
Self-adhesive tabel is recommended.

3. Place tabel so that it does not wrap around the edge of
the package.

4. Each shipping label number is unique and can be used
only once - DO NOT PHOTOCOPY,

§ Please use this shipping label on the "ship date”
selected when you requested the label,

6. If a mailing recelpt is required, present the article and
Online e-L.abel Record at a Post Office for postmark,

Ba UNITED STATES,
POSTAL SERVICE’

9410 8301 0935 5002 5491 01

PRIORITY MAIL®
Extra Services:

Print Date: 2025-02-14
Ship Date: 2025-02-14

Fees:
Total:
From: REGINA JORDAN-SODIQ
1757 AUTUMNWOOD BLVD
CLARKSVILLE TN 37042-1713
To:

KRISTEN RITTER
3501 UNIVERSITY BLVD E
ADELPHI MD 20783-7998

* Commercial Pricing PRIORITY MAILO rates apply. There is no fee for USPS Tracking?
service on PRIORITY MALLS service with use of this clectronic rate shipping label.
Refunds for unused postage patd labels can bo requested onfite 30 days from the

print date.

$8.75
$3.70

$0.00

$12.45

Check the status of your shipment on the USPS Tracking® page at usps.com

Instructions

1. Please use a laser or laser-quality printer.

2, Adhere shipping label to package with tape or glue -DO
NOT TAPE OVER BARCODE. Be sure all edges are secure.
Self-adhesive label is recommended.

3. Place label so that it does not wrap around the edge of
the package.

4, Each shipping label number is unique and can be used
only once ~ DO NOT PHOTOCOPY.

5. Please use this shipping fabel on the "ship date"
selected when you requested the label,

6. Ifa mailing receipt is required, present the article and
Ontine e-Label Record at a Post Office for postmark.

Fy

Cut on dotted line.

eter

Thank you for shipping with the United States Postal Service!

9410 8301 0935 5002 5500 39

Print Date: 2025-02-14 PRIORITY MAIL®

Ship Date: 2025-02-14 Extra Services:
Fees:

Total:
REGINA JORDAN-SODIQ

1757 AUTUMNWOOD BLVD
CLARKSVILLE TN 37042-1713

From:

To:
SOCIAL SECURITY OFFICE
LYWANA DOLLAR
119 CENTER POINTE DR
CLARKSVILLE TN 37040-8424

* Commercial Pricing PRIORITY MAIL@ rates apply. There is no fea for USPS Teacking®
service on PRIORITY MAILY service with use of this electronic rate shipping label.
Rolunds for unused postage paid labels can be requested ontine 30 days from the

print date,

$8.75
$3.70

$0.00

$12.45

Ba Kor STATES. Thank you for shipping with the United States Postal Service!
Check the status of your shipment on the USPS Trackinge page at usps.com

Case 3:25-cv-00288 Document 49

Filed 04/17/25

Page 6 of 16 PagelD #:

275
UU UU

Instructions

1. Please use a faser or laser-quality printer.

2. Adhere shipping label to package with tape or glue - DO
NOT TAPE OVER BARCODE. Be sure all edges are secure.
Self-adhesive label Is recommended,

3. Place label so that it does not wrap around the edge of
the package.

4, Each shipping label number Is unique and can be used
only once - DO NOT PHOTOCOPY.

5. Please use this shipping label on the “ship date"
selected when you requested the label,

6. {fa mailing receipt is required, present the article and
Online e-Label Record at a Post Office for postmark.

9410 8301 0935 5002 5497 12

Print Date: 2025-02-14 PRIORITY MAIL® $8.75
Ship Date: 2025-02-14 Extra Services: $3.70
Fees: $9.00
Total: $12.45
From: REGINA JORDAN-SODIQ
1757 AUTUMNWOOD BLVD
CLARKSVILLE TN 37042-1713
To:
UNIVERSITY MARYLAND GLOBAL CAMPUS
ORLANDO MENEZ
119 CENTER POINTE DR

CLARKSVILLE TN 37040-8424

* Commercial Pricing PRIORITY MAILS rates apply. There is no fee for USPS Tracking®
gervice on PRIORITY MAILS service with use of this electronic rate shipping label.
Refunds for unused postage paid Labels can He requested onliie 30 days from the

print date.

Beg BMITED STATES. Thank you for shipping with the United States Postal Service!
Check the status of your shipment on the USPS Tracking® page at usps.com

instructions

4. Please use a laser or laser-quality printer.

2. Adhere shipping label to package with tape or glue ~DO
NOT TAPE OVER BARCODE. Be sure all edges are secure.
Self-adhesive label is recommended.

3. Place label so that it does not wrap around the edge of
the package.

4. Each shipping label number Is unique and can be used
only once - DO NOT PHOTOCOPY.

, Please use this shipping label on the "ship date”
satected when you requested the tabal.

a

6. fa mailing receipt is required, present the article and
Online e-Labei Record at a Post Office for postmark.

Cut on dotted line.

9410 8301 0935 5002 5494 15

Print Date: 2025-02-14 PRIORITY MAIL® $8.75
Ship Date: 2025-02-14 Extra Services: $3.70
Fees: $9.00
Total: $12.45
From; REGINA JORDAN-SODIQ
4757 AUTUMNWOOD BLVD
CLARKSVILLE TN 37042-1713
To:
UNIVERSITY MARYLAND GLOBAL CAMPUS
JENNIFER HARVEY
3501 UNIVERSITY BLVD E
ADELPHI MD 20783-7998

* Commercial Pricing PRIORITY MAIL@ rates apply. Thee is na fee for USPS Tracking»
gervico on PRIORITY MAILD service with use of this ofectronic rate shipping label.
Refunds for unused postage pald labels can be requested online 30 days Irom the
print date.

Ba UNITEDSTATES, Thank you for shipping with the United States Postal Service!

POSTAL SERVICEs

Check the status of your shipment on the USPS Tracking® page at usps.com

Case 3:25-cv-00288 Document 49

Filed 04/17/25

Page 7 of 16 PagelD #: 276
wk Wr UU I,

Instructions

4. Please use a laser or laser-quality printer.

2. Adhere shipping label to package with tape or glue - DO
NOT TAPE OVER BARCODE. Be sure all edges are secure.
Self-adhesive label is recommended.

3, Place tabel so that it does not wrap around the edge of
the package.

4, Each shipping label number Is unique and can be used
only once - DO NOT PHOTOCOPY,

5. Please use this shipping tabel on the "ship date"
selected when you requested the label,

6. If a mailing receipt is required, present the article and
Online e-Labet Record at a Post Office for postmark.

Ba UNITED STATES |
POSTAL SERVICE.

9410 8301 0935 5002 5497 12

Print Date: 2025-02-14 PRIORITY MAIL® $8.75
Ship Date: 2025-02-14 Extra Services: $3.70
Fees: $0.00
Ee
Total: $12.45
From: REGINA JORDAN-SODIQ
1757 AUTUMNWOOD BLVD
CLARKSVILLE TN 37042-1713
To:
UNIVERSITY MARYLAND GLOBAL CAMPUS
ORLANDO MENEZ
119 CENTER POINTE DR

GLARKSVILLE TN 37040-8424

* Commercial Priciag PRIORITY MAILG rates apply. There is no fee for USPS Tracking
guivice on PRIORITY MAIL® service whh use of this electronic rte shipping label,
Retunds tor unused postage pald labels can te requested online 36 days from the

print date,

Thank you for shipping with the United States Postal Service!

Check the status of your shipment on the USPS Tracking® page at usps.com

ra Cut on dotted fine.

Instructions
4. Please use a laser or laser-quality printer.

2. Adhere shipping label to package with tape or glue - DO
NOT TAPE OVER BARCODE. Be sure all edges are secure.
Self-adhesive label is recommended. 5

. Place fabel so that it does not wrap around the edge of

wo

the package.

4. Each shipping label number is unique and can be used
only once - DO NOT PHOTOCOPY.

. Please use this shipping label on the “ship date"
selected when you requested the label.

an

if a mailing receipt is required, present the article and
Online e-Label Record at a Post Office for postmark.

=

Ba UNITED STATES.
POSTAL SERVICE»

Check the status of your shipment on

Case 3:25-cv-00288 Document 49

Filed 04/17/25

9410 8301 0935 5002 5494 15

Print Date: 2025-02-14 PRIORITY MAIL® $3.75
Ship Date: 2025-02-14 Extra Services: $3.70
Fees: $0.00
Total: $12.45
From: REGINA JORDAN-SODIQ
4757 AUTUMNWOOD BLVD
CLARKSVILLE TN 37042-1713
To
UNIVERSITY MARYLAND GLOBAL CAMPUS
JENNIFER HARVEY
3501 UNIVERSITY BLVD E
ADELPHI MD 20783-7998

* Commercial Pricing PRIORITY MAIL rates apply. Thece is no fee for USPS Tracking®
service on PRIORITY MAILO service with use of thls electronic rate shipplag label.
Refunds for unused postage pald labels can be requested onling 30 days from the
print date.

Thank you for shipping with the United States Postal Service!

the USPS Tracking® page at usps.com

Page 8 of 16 PagelD #: 277
Lut on agoued une.

Instructions 9410 8301 0935 5002 5268 84
1. Please use a laser or laser-quality printer. Print Date: 2025-02-12 PRIORITY MAIL® $8.75
Extra Services: $3.70

Ship Date: 2025-02-12

2. Adhere shipping label to package with tape or glue - DO
NOT TAPE OVER BARCODE. Be sure all adges are secure. Fees: $000.
Self-adhesive label is rece ded, Total: $12.45
3. Place label so that It does not wrap around the edge of From: REGINA JORDAN-SODIQ
the package. 1757 AUTUMNWOOD BLVD

CLARKSVILLE TN 37042-1713

4, Each shipping label number is unique and can be used
only ence - DO NOT PHOTOCOPY.

5, Please use this shipping label on the “ship date” To:
selected when you requested the label, TAMARA DENISE MARSHALL
. 135 COMMERCE ST
6. if a mailing receipt is required, present the article and CLARKSVILLE TN 37040-5100

QOntine e-Label Record at a Post Office for postmark.
* Commercial Pricing PRIORITY MAIL@ cates apply. Thera is no fee for USPS Tracking?
service on PRIORITY MAIL® service with uge of this olectronic rate shipping label.
Refunds for untsed postage paid labels can be requested online 39 days from the

print date.

Bead UNITED STATES. Thank you for shipping with the United States Postal Service!
Check the status of your shipment on the USPS Tracking® page at usps.com

fo — -— wie ~ eine tn “ = =

Cut on dotted line.

Instructions
9410 8301 0935 5002 5270 314

1. Please use a laser or laser-quality printer,

Print Date: 2025-02-12 PRIORITY
MAIL® $8.75
2. Adhere shipping label t .
Sher pping abel to package with tape or glue - DO Ship Date: 2025-02-12 Extra Services: $3.70
E OVER BARCODE. Be sure all edges are secure. Fees: Sieamatemaes
Self-adhesive fabet is recommended, ve
Total: $12.45
3. Place label so that it doos hof wrap around the edge of F
the package. rom: REGINA JORDAN-SODIQ
1757 AUTUMNWOOD BLVD
4. Each shipping label number is unique and can be used CLARKSVILLE TN 97042-4713

only once - DO NOT PHOTOCOPY,

5. Please use this shipping label on the “ship date” Te:
selected when you requested the label. ,
STEPHEN B
6. If a mailing receipt is required, present the article and 135 COMMERCE ST
Ontine e-Label Record at a Post Office for postmark. CLARKSVILLE TN 37040-5100

* Cammezciat Pricing PRIORITY MAILG rates apply, There ig no fee for USPS Tracking
service on PRIORITY MAILS service with use of this alectronte tate shipping label.

Refunds for unused postage patd labels can bo requested online 30 days from the
f label: in
int ¥ ,

UNITED STATES vg
Ba POSTAL SE =, Thank you for shipping with the United States Postal Service!

Check the status of your shipment on the USPS Tracking® page at usps.c
Case 3:25-cv-00288 Document 49 Filed 04/17/25 Page 9 of 16 Pagels ye: 278

LuL On Goued ne,

Instructions
1, Please use a laser or laser-quality printer.

2. Adhere shipping label to package with tape or glue - DO

NOT TAPE OVER BARCODE. Be sure all edges are secure.

Self-adhesive label is recommended.

3, Place label so that it does not wrap around the edge of
the package.

4, Each shipping label number Is unique and can be used
only once - DO NOT PHOTOCOPY,

Please use this shipping label on the "ship date”
salected when you requested the label,

a

6. Ifa mailing receipt ls required, present the article and
Online e-Label Record at a Post Office for postmark.

Ba UNITED STATES
POSTAL SERVICE.

From:

To:

Print Date: 2025-02-12
Ship Date: 2025-02-12

print date.

9410 8301 0935 5002 5268 87

PRIORITY MAIL® $8.75
Extra Services: $3.70
Fees: $0.00
Total: $12.45
REGINA JORDAN-SODIQ
1757 AUTUMNWOOD BLVD

CLARKSVILLE TN 37042-1713

TAMARA DENISE MARSHALL
135 COMMERCE ST
CLARKSVILLE TN 37040-5100

* Commercial Pricing PRIORITY MAILS rates apply, There is no fee for USPS Tracking?
service on PRIORITY MAILS service wih use of this electronic rate shipping label.
Refunds for unused postage paki labels can be requested online 34 days from the

Thank you for shipping with the United States Postal Service!

Check the status of your shipment on the USPS Tracking® page at usps.com

Instructions

1. Please use a laser or laser-quality printer.

2. Adhere shipping label to package with tape or glue - DO
NOT TAPE OVER BARCODE. Be sure all edges are secure,
Self-adhesive label is recommended.

3. Place label so that it does not wrap arotind the edge of
the package,

4. Each shipping label number is unique and can be used
only once - DO NOT PHOTOCOPY,

5. Please use this shipping label on the “ship date”
selected when you requested the label,

6. {fa mailing receipt is required, present the article and
Online e-Label Record at a Post Office for postmark.

UNITED STATES
Ba POSTAL SERVICE

gp

Cut on dotte

em ca

d line,

From:

To:

print date,

Print Date: 2025-02-12
Ship Date: 2025-02.12

» .
camenescia Pricing PRIORITY MAILG rates apply. There is no tee for USPS Tracking®

“ ce on PRIORITY MAILS servico whh Uso of this electronts rate shipping fabel.

Relunds for unused Postage pald lahets can be fequesied online 30 days trom the

9410 8301 0935 5002 5270 34

PRIORITY MAIL@® $8.75
Extra Services: $3.70
Fees: $0.60
Totak $12.45
REGINA JORDAN-SODIQ
1757 AUTUMNWOOD BLVD

CLARKSVILLE TN 37042-1713

STEPHEN BROWNE
135 COMMERCE ST
CLARKSVILLE TN 37040-5100

Thank you for shipping with the United States Postal Service!

Case 3:25-cv-00288 Document 49

Filed 04/17/25

Page 1

“ Cut on dotted line.

Instructions

1. Please use a faser or laser-quatity printer.

2. Adhere shipping label to package with tape or glue - DO
NOT TAPE OVER BARCODE. Bs sure all edges are secure.
Self-adhesive label Is recommended.

3. Place label so that it does not wrap around the edge of
the package.

4. Each shipping label number is unique and can be used
only once - DO NOT PHOTOCOPY,

5, Please use this shipping labaf on the “ship date”
selected when you requested the label.

6, [fa mailing receipt Is required, present the article and

Online e-Label Record at a Post Office for postmark.

Ba UNITED STATES,
POSTAL SERVICEe

9410 8301 0935 5002 5510 29

Print Date: 2025-02-14 PRIORITY MAIL® $8.75
Ship Date: 2025-02-14 Extra Services: $3.70
Fees: $9.00
Total: $412.45
From: REGINA JORDAN-SODIQ
1757 AUTUMNWOOD BLYD
CLARKSVILLE TN 37042-1713
To:
CLARKSVILLE POLICE STATION
DANITA BROWNE
135 COMMERCE ST

CLARKSVILLE TN 37040-5160

* Goaumarcial Pricing PRIORITY MAILE rates agply. There Is to tee for USPS Tracking>
service on PRIORITY BAILS servica with use of this electronic rate sipping label,
Refunds for unused postage pald labels can bo requested oidine 30 days from the

print date.

Thank you for shipping with the United States Postal Service!

Check the status of your shipment on the USPS Tracking® page at usps.com

instructions

4. Please use a laser or laser-quality printer.

2. Adhere shipping label to package with tape or glue - DO
NOT TAPE OVER BARCODE. Be sure all edges are secure.
Self-adhesive label is recommended,

3. Place label so that it does not wrap around the edge of
the package.

4, Each shipping label number Is unique and can be used
only once - DO NOT PHOTOCOPY.

5. Please use this shipping label on the “ship date”
selacted when you requested the label,

6. {fa mailing receipt is required, present the article and
Online e-Label Record at a Post Office for postmark.

Cut on dotted fine.

9410 8301 0935 5002 5505 65

Print Date: 2025-02-14 PRIORITY MAIL®
Ship Date: 2025-02-14 Extra Services:
Fees:
Total:
From: REGINA JORDAN-SODIQ
1757 AUTUMNWOOD BLVD
CLARKSVILLE TN 37042-1713
To:

CLARKSVILLE POLICE STATION
CHRISTINA JACKSON

135 COMMERCE ST
CLARKSVILLE TN 37040-5100

* Commercial Pricing PRIORITY MAILS cates apply. There is na fee for USPS Tracking®
service en PRIORITY BAH service whh use of this electronic rate shipping label,
Refunds for unused poslags pald labels can be requested online 38 daya from tha

print deta.

$8.75
$3.70

$0.00

$12.45

Bed HITED STATES. Thank you for shipping with the United States Postal Service!
Check the status of your shipment on the USPS Tracking® page at usps.com

Case 3:25-cv-00288 Document 49

Filed 04/17/25

Page 11 of 16 PagelD #: 280

v Cut on dotted line,

Instructions

1. Please use a taser or laser-quality printer.

2. Adhere shipping label to package with tape or glue -DO
NOT TAPE OVER BARCODE. Be sure all edges are secure.
Self-adhesive label ls recommended.

3. Place label so that it does not wrap around the edge of
the package.

4, Each shipping label number is unique and can be used
only once - DO NOT PHOTOCOPY,

5, Please use this shipping label on the "ship date"
selected when you requested the label.

6. [fa mailing receipt Is required, present the article and

Oe ann

Online e-Label Record at a Post Office for postmark.

UNITED STATES,
Ea MUP TATE,

9410 8301 0935 5002 5510 29

Print Date: 2025-02-14 PRIORITY MAIL® $8.75
Ship Date: 2025-02-14 Extra Services: $3.70
Fees: $0.00
Total: $12.45
From: REGINA JORDAN-SODIQ
41757 AUTUMNWOOD BLVD
CLARKSVILLE TN 37042-1743
To:
CLARKSVILLE POLICE STATION
DANITA BROWNE
135 COMMERCE ST

CLARKSVILLE TN 37040-5100

* Commercial Pricing FRIORITY MAIL© rates pply. There is no fee for USPS Tracking®
service on PRIORITY MAILS service with use of this electronic rte shipping label,
Retunds for unused postage paid lahels can be requested ordine 30 days from the

prin date.

Thank you for shipping with the United States Postal Service!

Check the status of your shipment on the USPS Tracking® page at usps.com

Instructions

1. Please use a laser or laser-quality printer.

2. Adhere shipping label to package with tape or glue -DO
NOT TAPE OVER BARCODE. Be sure all edges are secure.
Self-adhesive fabel is recommended.

3. Place fabel so that it does not wrap around the edge of
the package.

4, Each shipping label number is unique and can be used
only once - DO NOT PHOTOCOPY.

5, Please use this shipping label on the "ship date”
selected when you requested the label,

6. ifa mailing recalpt is required, present the article and
Online e-Labej Record at a Post Office for postmark.

Ba UNITED STATES,
POSTAL SERVICE.

Cut on dotted line.

9410 8301 0935 5002 5505 65

PRIORITY MAIL®
Extra Services:
Fees:

Print Date: 2025-02-14
Ship Date: 2025-02-14

Total:

REGINA JORDAN-SODIQ
1757 AUTUMNWOOD BLVD
CLARKSVILLE TN 37042-1713

From:

To:
CLARKSVILLE POLICE STATION
CHRISTINA JACKSON
135 COMMERCE ST
CLARKSVILLE TN 37040-5100

* Commercial Pricing PRIORITY MAILS rates apply. There is no fee for USPS Tracking®)
service en PRIORITY MAIL® service with use of this electronic rate shipping label.
Refunds for unused postage paid labels can be requested online 30 days front the
pent date,

$8.75
$3.70

$9.00

$12.45

Check the status of your shipment on the USPS Tracking® page at usps.com

Case 3:25-cv-00288 Document 49

Filed 04/17/25

Thank you for shipping with the United States Postal Service!

Page 12 of 16 PagelD #: 281

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Middle District of Tennessee at N

Dr. Regina Jordan-Sodiq,

Plaintiffs)
Vv. Civil Action No. 3:25-cv-00288 Judge Eli Richardson

Social Security Administration, et.al., and
Regions Bank

Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Corporations Service Company (Registered Agent)
Regions Bank

2908 Poston Ave.
Nashville, Tennessee 37203-1312

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. {2 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

“LERK OF COURT

A

saan

Date:

Signatiye of Clerk oF Depkty Clerk

RE TURK COpy

Case 3:25-cv-00288 Document 49! Filed 04/17/25 Page 13 of 16 PagelD #: 282
AO 440 Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 3:25-cv-00288 Judge Eli Richardson

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

was received by me on (date)

(7 I personally served the summons on the individual at (place)

On (date) ; or

1 Lleft the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

(1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or

(1 I returned the summons unexecuted because ‘or

LX Other (specify): “\ moule A US PS Contr wa dion fe Corp ow

QyWwan les \gasn MA Sornen ad ecgjnred
Py

My fees are $ for travel and $ for services, for a total of $ 0.00

SY Server's signature J
Ye lem { (The Tooelan adie

Printed name and title

Server's address

Additional information regarding attempted service, ctc:

Case 3:25-cv-00288 Document 49 _ Filed 04/17/25 Page 14 of 16 PagelD #: 283
AO 440 (Rev. 06/12) Summons ina Civil Action

UNITED STATES DISTRICT COURT

for the
Middle District of Tennessee at N

Dr. Regina Jordan-Sodiq,

Plaintiffs)

Vv. Civil Action No, 3:25-cv-00288 Judge Eli Richardson

State of Tennessee, et.al., and Pennymac Loan
Services, LLC

Defendant(s)

SUMMONS IN A CIVIL ACTION

CT Corporation System (Registered Agent)
Pennymac Loan Services

300 Montvue RD

Knoxville TN 37919-5510

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal! Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

T
Date: APR 1.4 2025 Lune J Ci t-—

- Signature of Clerfor Deputy Clegk/

RETURN COPY

Case 3:25-cv-00288 Document 49 _ Filed 04/17/25 Page 15 of 16 PagelD #: 284
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 3:25-cv-00288 Judge Eli Richardson

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (D)

This summons for (name of individual and title, if any)

was received by me on (date)

(¥ I personally served the summons on the individual at (place)

On (date) ; or

IV 1 left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

On (date) ; or

7 I returned the summons unexecuted because Sor

Bk Other (specify: YY hou \ lo A OSPS AoC medion Fedsrp ot \e \b0V4
Via ehud Qeenk ad Ataney

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

pw: [Je] aS” ae WY welve

Wy ew pk ee codon. Q. A ae)

Printed name and fille

Server's address

Additional information regarding attempted service, etc:

Case 3:25-cv-00288 Document 49 _ Filed 04/17/25 Page 16 of 16 PagelD #: 285
